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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                          Plaintiff,         )       CRIMINAL ACTION
                                             )
v.                                           )       No.   07-10221-MLB
                                             )
MICHAEL L. BIGLOW, et al.,                   )
                                             )
                          Defendants.        )
                                             )

                              MEMORANDUM AND ORDER
            This case comes before the court on defendants’ motion for a
supplemented summary of the government’s experts’ opinions (Doc. 847)
and defendants’ memorandum in support of a Daubert hearing.                      (Doc.
845).         The   government   has    filed     its   response.        (Doc.   851).
Defendants’ motion is denied for the reasons set forth herein.
                                       Analysis1
            On September 21, 2009, the government sent a letter to defense
counsel identifying twelve individuals the government will call to
testify as experts during trial.             Out of these twelve individuals,
defendants have raised objections to the testimony of three police
officers, Clint Snyder, Lance Oldridge, and Ron Goodwyn.2                   Defendants

        1
       A procedural history and the facts surrounding the criminal
charges in this case can be found in this court’s most recent
memorandum and order filed on February 22, 2012. (Doc. 850).
        2
       Defendants also discuss Agent Neal Tierny and Timothy Mitchell
in their briefing, but very briefly.      Defendants assert that the
government failed to discuss the nature of Mitchell’s testimony and
therefore, they assume he will not testify. Defendants are incorrect.
The government’s disclosure lists Mitchell as a lab expert and states
that he will testify in accordance with the lab reports disclosed.
As to Agent Tierny, defendants state that they do not seek a Daubert
hearing as to his testimony as long as he testifies in accordance with
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assert that the government’s Rule 16 disclosure is not sufficient to
adequately challenge their opinions in a Daubert motion and seek
supplemental reports.       (Doc. 847 at 8).    The government responds that
it has provided defendants with all materials required by Brady and
Fed. R. Crim. P. 16.
      The government cites United States v. Nacchio, 519 F.3d 1140
(10th Cir. 2008) which notes the following differences between expert
discovery in a criminal action and a civil action:
            A Rule 16 disclosure must contain only “a written
      summary of any testimony” and “describe the witness's
      opinions, the bases and reasons for those opinions, and
      the witness's qualifications.” Fed. R. Crim. P.
      16(b)(1)(C). In contrast, an expert's written report in
      a civil case must include not only “a complete statement
      of all opinions the witness will express and the basis
      and reasons for them,” Fed. R. Civ. P. 26(a)(2)(B)(i),
      and his qualifications, R. 26(a)(2)(B)(iv), but also all
      of the data or other information considered in forming
      the opinion, all summary or supporting exhibits, and the
      compensation he was paid.
Id. at 1152.
      Nacchio’s    interpretation     of    Rule   16   does    not   require   the
additional disclosure being sought by defendants.                   The court has
reviewed the government’s disclosures (Doc. 845, exh. 1) and finds
them sufficient under Rule 16.            Therefore, defendants’ motion to
supplement is denied.       (Doc. 847).
     In their supplemental memorandum in support of an additional
hearing (Doc. 845), defendants assert that a Daubert hearing will be



his disclosure. The government’s response states that Tierny will
testify about the guns recovered and in accordance with his report.
Therefore, the issues defendants have raised concerning the testimony
of Snyder, Oldridge and Goodwyn, have not been extended to Tierny and
Mitchell and the court will not require their presence at the Daubert
hearing.

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beneficial due to potential Crawford challenges and the lack of
specific opinions by the experts.      Defendants’ briefing on this issue
shows that defendants are concerned that the officers’ opinions are
based on statements made by cooperating witnesses the officers have
interviewed over their years of experience.          (Docs. 845 at 8; 847 at
8).
      In United States v. Pablo, 625 F.3d 1285 (10th Cir. 2010), the
Circuit discussed the admissibility of an expert’s opinion which
relied on out-of-court testimonial statements as follows:
           Federal Rule of Evidence 703 authorizes an expert to
      testify to an opinion she formed even if she based that
      opinion on otherwise inadmissible facts or data, which at
      times may include out-of-court testimonial statements. See
      Fed. R. Evid. 703; see also United States v. Johnson, 587
      F.3d 625, 635 (4th Cir. 2009), cert. denied, --- U.S. ----,
      130 S. Ct. 2128, 176 L. Ed.2d 749 (2010).       Although an
      expert often will not disclose this otherwise inadmissible
      information to a jury, Rule 703 permits disclosure to the
      jury if “the court determines that [its] probative value in
      assisting the jury to evaluate the expert's opinion
      substantially outweighs [its] prejudicial effect.” Fed. R.
      Evid. 703. However, the disclosure of this otherwise
      inadmissible information is to assist the jury in
      evaluating the expert's opinion, not to prove the
      substantive    truth   of   the   otherwise    inadmissible
      information. Therefore, where an expert witness discloses
      otherwise inadmissible out-of-court testimonial statements
      on which she based her opinion, the admission of those
      testimonial statements under Rule 703 typically will not
      implicate a defendant's confrontation rights because the
      statements are not admitted for their substantive truth.
      See Crawford, 541 U.S. at 60 n. 9, 124 S. Ct. 1354.
           The extent to which an expert witness may disclose to
      a jury otherwise inadmissible testimonial hearsay without
      implicating a defendant's confrontation rights, however, is
      a question of degree. See Johnson, 587 F.3d at 635 (“[A]n
      expert's use of testimonial hearsay is a matter of
      degree.”).     If   an   expert  simply   parrots   another
      individual's testimonial hearsay, rather than conveying her
      independent judgment that only incidentally discloses
      testimonial hearsay to assist the jury in evaluating her
      opinion, then the expert is, in effect, disclosing the
      testimonial hearsay for its substantive truth and she

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       becomes little more than a backdoor conduit for otherwise
       inadmissible testimonial hearsay.       See, e.g., id.
       (“Allowing a witness simply to parrot out-of-court
       testimonial statements of cooperating witnesses and
       confidential informants directly to the jury in the guise
       of expert opinion would provide an end run around
       Crawford.”)
625 F.3d at 1292.
       The reasoning in Pablo would therefore allow the officers to
testify based on information gained from years of experience as long
as the officers are not solely parroting out-of-court testimonial
statements from witnesses, i.e. if an expert testified that Black told
him that the term ninth street referred to nine thousand dollars.                In
reaching its decision, the Tenth Circuit relied heavily on a Fourth
Circuit decision, United States v. Johnson, 587 F.3d 625 (4th Cir.
2009). In Johnson, the government utilized officer experts to testify
about conversations intercepted in a wiretap.           The officers testified
that several terms were code words for drug transactions.               When asked
how an officer came to the conclusion that the call discussed a drug
transaction, the officer stated: “I'm basing it on the context-as you
said, I'm basing it on other events occurring around the time of the
intercepted    call.   I'm    basing   it    on   the   known    nature     of   the
organization. I'm basing it on informant information, on interviews
I've done, on evidence that was seized and on the entire-on all the
facts that were developed the course of the investigation.”                 Id. at
634.
       The Fourth Circuit held that the Johnson case was different from
the facts set forth in United States v. Mejia, 545 F.3d 179 (2d Cir.
2008), a case to which defendants cite in their motion, in which an
officer testified that his opinion was based on a single interview

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with one gang member.       The Fourth Circuit held that the officer
experts in Johnson applied their expertise over several years and
numerous sources to interpret the calls and their opinion was not
based on one single interview.            Therefore, the Circuit found no
Confrontation Clause violation occurred.
     In this case, the government has disclosed that the officer
experts will base their opinions on their surveillance of defendants
over a period of time, years of experience, training, arrests and
interviews.    Based on that disclosure, the court concludes that the
officers’ opinions would not violate the Confrontation Clause and
Crawford.     Defendants, however, will be given the opportunity to
question the officers and make proper objections to their opinions
during trial and to make requests for appropriate instructions.
     Defendants’ request for a Daubert hearing is therefore denied.


     IT IS SO ORDERED.
     Dated this    14th     day of March 2012, at Wichita, Kansas.


                                          s/ Monti Belot
                                          Monti L. Belot
                                          UNITED STATES DISTRICT JUDGE




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